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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                   TYLER DIVISION

NOVEDEA SYSTEMS, INC. and                         §
ANAND DASARI                                      §
                                                  §
        Plaintiffs,                               §
                                                  §       CIVIL ACTION NO.: 6:20-cv-180-JDK
v.                                                §
                                                  §                    JURY TRIAL DEMANDED
COLABERRY, INC. and                               §
RAM KATAMARAJA                                    §
                                                  §
        Defendants.                               §
                                                  §




                COLABERRY, INC.’S ANSWER AND COUNTERCLAIMS
             TO PLAINTIFFS’ VERIFIED SECOND AMENDED COMPLAINT

     Defendant Colaberry, Inc. (“Defendant” or “Colaberry”) respectfully submits this Answer in

response to the Verified Second Amended Complaint of Plaintiffs Novedea Systems, Inc. and

Anand Dasari (“Plaintiffs” or “Novedea” or “Dasari”), as follows:

                   ANSWER TO VERIFIED SECOND AMENDED COMPLAINT

A. Parties

       Admitted.

       Defendant is without knowledge sufficient to admit or deny the allegations contained in this

paragraph and therefore denies them.

       Admitted that Colaberry is a Delaware corporation organized and existing under the laws of

the state of Delaware. Denied that Colaberry is headquartered in Texas.

       Admitted.
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B. Jurisdiction and Venue

      Admitted.

      Defendant is without knowledge sufficient to admit or deny the allegations contained in this

paragraph and therefore denies them

      Admitted that Plaintiffs are seeking a declaratory judgment under Fed. R. Civ. P. 57 and 28

U.S.C. §§ 2201 and 2202.

      Denied.

C. BACKGROUND FACTS

      Denied.

       Admitted that Novedea was incorporated before Colaberry. Admitted that in 2012, Ram

Katamaraja purchased 7,500 shares of Novedea from Mr. Govindarajan and Ms. Dasyam. Admitted

that on February 27, 2012, Novedea held an organizational meeting that Ram Katamaraja attended

as the sole shareholder and sole Director of Novedea. Admitted that on February 27, 2012, Ram

Katamaraja was appointed Novedea’s President and Chief Executive Officer and Dasari was

appointed the company Secretary. Admitted that Novedea is a Texas corporation. The remainder of

this paragraph is Denied.

       Admitted that Dasari became COO of Novedea in 2014 and was handling the front-end job

of sales and training through analog teaching methods and lectures in classrooms. Admitted that

Dasari made a number of risky business decisions that negatively impacted Novedea. Admitted that

Katamaraja is currently Novedea’s CEO and has been since 2012. Denied that Dasari was

responsible for Novedea’s day-to-day operations and strategic direction.

       Denied.

       Admitted that Dasari taught classes at Novedea. The remainder of this paragraph is Denied.

       Admitted that Dasari remained in Plano, Texas. Admitted that Katamaraja moved to Boston.



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Admitted that Katamaraja pursued a graduate degree. The remainder of this paragraph is Denied.

       Denied.

       Defendant is without knowledge sufficient to admit or deny the allegations contained in this

paragraph and therefore denies them.

       Denied.

       Admitted that on January 5, 2012, Ram Katamaraja incorporated Colaberry with himself as

the sole owner and Director. Admitted that on January 5, 2012, Ram Katamaraja as sole Director

appointed himself as President and Treasurer and authorized the issuance of 1,500 no par value

shares of common stock to himself. Admitted that on January 5, 2012, Ram Katamaraja appointed

Dasari as secretary of Colaberry. Admitted that on or about January 22, 2012, Ram Katamaraja

conveyed 750 of his 1,500 common stock shares in Colaberry to Dasari. Admitted that Stock

Certificate number 2, dated January 22, 2012 issued 750 shares of Colaberry common stock to

Dasari. Admitted that on January 22, 2012, Ram Katamaraja owned 750 shares of Colaberry

common stock. The remainder of this paragraph is Denied.

       Denied.

       Admitted that Colaberry and Noveda executed a Master Agreement on September 9, 2014

and in that agreement Novedea agreed to support Colaberry’s operations and software development

as a contract services provider. The remainder of is paragraph is Denied.

       Admitted that Colaberry began operations in 2014 with Ram Katamaraja as an officer and

sole Director. Admitted that Dasari and Ram Katamaraja owned 50% of Novedea. The remainder of

this paragraph Denied.

       Denied.

       Denied.




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       Denied.

       Denied.

       Denied.

       Denied.

       Denied.

       Denied.

       Denied.

       Admitted that Defendant recognized that a business separation was necessary, and

discussions were commenced. The remainder of this paragraph is Denied.

       Denied.

       Denied.

       Denied.

       Denied.

       Admitted that Filtered was spun out as a separate company and that Dasari was not an

employee or officer of Filtered. The remainder of this paragraph is Denied.

       Denied.

       Denied.

       Admitted that Achieve Partners expressed interest in investing in Colaberry. The remainder

of this paragraph is Denied.

       Admitted that the parties signed a Letter of Intent evidencing Colaberry’s intent to purchase

Dasari’s shares of Colaberry. Admitted that it was agreed upon that Pallavi would resign after the

deal was completed. Admitted that funds were deposited with an escrow company and that the LOI

states: “Colaberry, Novedea, Dasari, and Katamaraja shall use their best efforts to close on the




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purchase and sale transactions set forth herein (the Closing”) on the Execution Date or within forty-

five (45) thereafter (to accommodate Colaberry’s need to arrange sufficient debt financing to

completion the contemplated transactions), but in any event within five (5) business days after the

satisfaction of all conditions specified in Section 9 below and as may be further contained in the

P&S Agreements. The Closing shall take place virtually by the exchange and delivery of signed

documents via facsimile, email or similar communication reasonably acceptable to the parties

hereto.” Denied that Dasari cooperated to complete the sales process in good faith.

       Defendant lacks knowledge sufficient to admit or deny the allegation that “right after the

LOI was signed, Colaberry called a meeting announcing the company was buying out Dasari’s

shares and that he and his wife, Pallavi, would be leaving the company.” Admitted that Colaberry

was forced to find new office space for its operations after its lease expired on December 31, 2019.

The remainder of this paragraph is Denied.

       Denied.

       Denied that “Ram and Colaberry disregarded this instruction and continued to improperly

use LMS, harming Novedea and Dasari.” The remainder of this paragraph is Admitted.

       Denied.

       Admitted that Dasari’s employment at Colaberry was terminated. Admitted that Dasari’s

termination letter dated April 16, 2020 stated the following:

               “The Company will direct deposit your final paycheck within the
               next six days.”

               “Effective at the time you were notified of your termination, you
               are no longer permitted to access our electronic systems,
               computers, e-mail, servers, cloud-based storage or portals,
               software, or any similar device or access point. This includes
               requesting other Company employees to access a
               system/devise/access point on your behalf. Any attempts to access
               our data, information, documents, programs, electronic systems,
               computers, e-mail, servers, cloud based storage or portals, or



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                similar, either directly or indirectly, will be viewed as a violation
                of the Computer Fraud and Abuse Act, 18 U.S. Code § 1030. If we
                determined that your conduct violates this law, which includes
                both civil and criminal penalties, we will take appropriate legal
                action.”

                “You may no longer represent yourself as an employee of our
                Company and you may not come onto any Company property.”

                “As a Company officer and major shareholder you were privy to
                the Company’s confidential and trade secret information. Your
                fiduciary duties include maintaining the confidentiality of any
                Company confidential information/trade secrets. This obligation
                survives the termination of your employment.”

The remainder of this paragraph is Denied.

       Admitted that Colaberry and Ram Katamaraja filed a lawsuit in the Court of Chancery of the

State of Delaware on April 20, 2020 seeking a declaration that the termination of Anand Dasari by

the Colaberry Board of Directors on April 16, 2020 was valid and legal and other relief. The

remainder of this paragraph is Denied.

       Admitted that after Dasari’s termination his access to Novedea’s operating bank account

was revoked. The remainder of this paragraph is Denied.

       Admitted that on April 27, 2020, Novedea Systems, Inc. and Ram Katamaraja filed suit

against Anand Dasari in the Texas District Court of the 471st Judicial District that is located in

Collin County. The remainder of this paragraph is Denied.

       Admitted that Dasari’s wife was offered a choice to accept a new managerial role at

Colaberry with no change in salary or to resign from the company, and she subsequently refused the

new managerial role. Admitted that on May 18, 2020, Colaberry sent Pallavi a communication

“accepting your resignation, effective today.” The remainder of this paragraph is Denied.

       Denied.




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                         COUNT 1 – COPYRIGHT INFRINGEMENT

       Each of the incorporated paragraphs are admitted or denied as described above.

       Denied.

       Denied.

       Denied.

       Denied.

       Denied.

       Denied.

       Denied.

                         COUNT 2 – DECLARATORY JUDGMENT

       Each of the incorporated paragraphs are admitted or denied as described above.

       Denied.

       Denied.

       Admitted only that Dasari and Katamaraja own 50% each of Novedea.

       Denied.

       Admitted that on January 5, 2012, Ram Katamaraja incorporated Colaberry with himself as

the sole owner and Director. Admitted that on January 5, 2012, Ram Katamaraja as sole Director

appointed himself as President and Treasurer and authorized the issuance of 1,500 no par value

shares of common stock to himself. Admitted that on January 5, 2012, Ram Katamaraja appointed

Dasari as secretary of Colaberry. Admitted that on or about January 22, 2012, Ram Katamaraja

conveyed 750 of his 1,500 common stock shares in Colaberry to Dasari. Admitted that Stock

Certificate number 2, dated January 22, 2012 issued 750 shares of Colaberry common stock to

Dasari. Admitted that on January 22, 2012, Ram Katamaraja owned 750 shares of Colaberry




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common stock. The remainder of this paragraph is Denied.

       Denied.

       Denied.

       Denied.

                         COUNT 3 – LANHAM ACT VIOLATIONS

        Each of the incorporated paragraphs are admitted or denied as described above.

        Denied.

       Denied.

       Denied.

       Denied.

       Denied.

                           COUNT 4 – BREACH OF CONTRACT

        Each of the incorporated paragraphs are admitted or denied as described above.

        Denied.

       Denied.

       Denied.

       Denied.

       Denied.

                    COUNT 5– BREACH OF FIDUCIARY DUTY

        Each of the incorporated paragraphs are admitted or denied as described above.

       Admitted that Katamaraja has a fiduciary duty to Novedea. The remainder of this paragraph

is Denied.

       Denied.

       Denied.



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             COUNT 6– NOVEDEA SHAREHOLDER DERIVATIVE CLAIMS

       Each of the incorporated paragraphs are admitted or denied as described above.

       Denied.

       Denied.

       Denied.

                                    DEMAND FOR JURY TRIAL

       Defendant requests a trial by jury on all issues so triable.

                             RESPONSE TO REQUEST FOR RELIEF

   Defendant denies that Plaintiffs are entitled to any of their requested relief.

                                     AFFIRMATIVE DEFENSES

                             First Defense – Failure to State a Claim

       Plaintiffs’ Second Amended Complaint fails to state a claim upon which relief can be

granted, including the grounds set forth in the Defendants’ motions to dismiss.

                               Second Defense – Non-infringement

       Defendant does not and has not infringed, either directly, indirectly, contributorily, or by

inducement the Plaintiffs’ alleged copyright.

                 Third Defense – Unenforceability Due to Inequitable Conduct

       Plaintiffs’ copyright is invalid due to inequitable conduct, as alleged herein in the

counterclaims below and incorporated here by reference.

       Fourth Defense – Unenforceability by Copyright Misuse and/or Unclean Hands

       Plaintiffs’ claims are barred in whole or in part by the doctrine of copyright misuse, as

alleged herein in the counterclaims below and incorporated here by reference. Plaintiff’s claims are

further barred under the doctrine of unclean hands.

                                Fifth Defense – Lack of Ownership




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        Plaintiffs are not the owner of one or more of the copyrights at issue.

                                  Sixth Defense – Statute of Limitations

        Plaintiffs copyright claims are barred by the statute of limitations as set for in 17 U.S.C. §

507.

        Plaintiffs breach of fiduciary duty claims are also barred by the statute of limitations as set

forth in Tex. Civ. Prac. & Rem. Code § 16.004.

                                    Seventh Defense – Acquiescence

        Plaintiffs have acquiesced in any alleged copyright infringement.

                                       Eighth Defense – Estoppel

        Plaintiffs’ copyright claims are barred by estoppel.

                    Ninth Defense – No Statutory Damages or Attorneys’ Fees

        Plaintiffs are barred by 17 U.S.C. § 412 from claiming statutory damages or attorney's fees

under the Copyright Act in that any alleged acts of infringement occurred before first registration of

the Plaintiff's alleged work.

                                Tenth Defense –Independent Development

        Plaintiffs’ copyright claims are barred because Defendant independently developed its

accused software.

 Eleventh Defense – False Advertising Claims Are Improper in Conjunction with Copyright
                                   Infringement Claims

         Plaintiffs are barred by law from seeking damages for both false advertising and copyright

infringement as described by the Supreme Court in Dastar Corp. v. Twentieth Century Fox Film

Corp. and Fifth Circuit precedent.

                                    Twelfth Defense – Lack of Authority

         Novedea’s alleged attorneys lack the legal authority to file or maintain this lawsuit on




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behalf of Novedea.

                                Thirteenth Defense – Statute of Frauds

         Plaintiff’s breach of contract claim is barred by the Statute of Frauds. Tex. Bus. & Com.

Code § 26.01.

                                     Fourteenth Defense – Indefinite

         Plaintiff’s breach of contract claim fails because the purported contract is missing essential

terms and therefore unenforceable.

                                       Fifteenth Defense – Waiver

         Plaintiff’s breach of contract claim fails because Plaintiffs have acted inconsistent with the

alleged agreement, thereby waived their right to enforce the alleged contract.

                                Sixteenth Defense – Copyright Invalid

         Plaintiffs’ copyright claims fail because the alleged copyright is invalid under 17 U.S.C. §

411(b)(1).

                     Seventeenth Defense – Colaberry Articles of Incorporation

         Dasari’s declaratory judgment claims are barred by provisions in the Colaberry Operative

Certificate of Incorporation adopted in conformity with 8 Del. C. § 102(b)(7) on January 5, 2012

and as amended in the February 21, 2018 Amended and Restated Certificate of Incorporation by

Colaberry, Inc.

                               Eighteenth Defense – Colaberry Bylaws

         Dasari’s declaratory judgment claims are barred, in whole or in party, by provisions in the

Colaberry bylaws adopted in conformity with 8 Del. C. § 142(b), which empower Katamaraja, as

sole director, to remove officers with or without case. And Colaberry, acting under instructions from

board member Katamaraja, has the power to make decisions such as hiring and firing of executives




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and the court gives deference to these decisions under the business judgment rule.

                  Nineteenth Defense – Unclean Hands, Estoppel, Waiver, or Laches

         Dasari’s claims are barred, in whole or in part, by the doctrines of unclean hands, estoppel,

waiver, or laches.

                                    Twentieth Defense – Ratification

         Dasari’s claims are barred, in whole or in part, by his own ratification of the acts

undertaken by Katamaraja.

                              Twenty First Defense – Unjust Enrichment

         Dasari’s claims are barred, in whole or in part, by the doctrine of unjust enrichment.

                                        Reservations of Defenses

         Defendant reserves all affirmative defenses under Rule 8(c) of the Federal Rules of Civil

Procedure, the Patent Laws of the United States, and any other defenses at law or in equity that may

exist now of that may be available in the future based on discovery and further factual investigation

in this action.

         Defendant reserves the right to amend or add such additional separate affirmative defenses

that may become available during discovery or at trial and conform any such additional defenses

that it may have to the evidence as permitted by Fed. R. Civ. P. 15(b).

                                          COUNTERCLAIMS

A. Parties

         Upon information and belief, Anand Dasari (“Dasari” or “Counterclaim-Defendant”) is an

adult resident of the Eastern District of Texas.

         Ram Katamaraja (“Katamaraja” or “Counterclaim-Plaintiff”) is an adult resident of

Massachusetts.

         Colaberry, Inc. (“Colaberry”) is a Delaware corporation headquartered in Boston,



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Massachusetts.

           Novedea Systems, Inc. (“Novedea”) is a Texas corporation with its principal place of

business in Plano, Texas.

B. Jurisdiction and Venue

           The Court has jurisdiction over this counterclaim pursuant to 28 U.S.C. §§ 1367, 1331, and

1338(a).

           Venue is proper in the Eastern District of Texas under 28 U.S.C. §§ 1391(b) and (c) as well

as Tex. Civ. Prac. & Rem. Code § 15.002 because Counterclaim-Defendant resides in this judicial

district, Counterclaim-Defendant has conducted business in this District, or because a substantial

part of the events or omission giving rise to the claims herein occurred in this District.

           This Court has personal jurisdiction over Counterclaim-Defendant in this action because (i)

Counterclaim-Defendant has subjected himself to personal jurisdiction by suing Colaberry and

Katamaraja in this District and (ii) Counterclaim-Defendant resides within this District.

C. The History of Novedea.

           Novedea was incorporated as a Texas corporation on May 26, 2005.

           Originally, Novedea’s business pursuit was to train and place workers at information

technology (IT) companies throughout the United States, with an emphasis on placing workers who

are citizens of the United States or India.

           The Articles of Incorporation filed May 26, 2005, authorized issuance of ten thousand

(10,000) shares.

           Currently, Novedea’s primary business focus has been providing general business

technology consulting services as a sub-vendor to other large contingent staffing companies.

           From about 2006 to 2008, Katamaraja was a H1B visa employee of Novedea.

           On or about 2010, Novedea issued Katamaraja 2,500 shares of common stock, which



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represented 25% of Novedea’s issued and outstanding shares at that time.

         Katamaraja was subsequently appointed as a member of Novedea’s Board of Directors.

         From 2005 to 2013, Dasari was a H1B visa employee of Novedea.

         But in December 2011, one of the owners of Novedea (not Katamaraja) attempted to fire

Anand from his position of Sr. Software engineer.

         This created a dispute amongst the owners of Novedea.

         Katamaraja worked to stop the Dasari’s termination in order to save his job and his

immigration status.

         At that time, Mr. Govindarajan was the largest shareholder of Novedea and had primary

responsibility for the management of the business.

         On January 5, 2012, Katamaraja incorporated Colaberry Inc. as the sole owner and

Director.

         As the sole Director, Katamaraja appointed himself as Colaberry’s President and Treasurer,

and authorized the issuance of 1,500 no par value shares of common stock to himself.

         On or about January 22, 2012, Katamaraja appointed Dasari to be the corporate secretary

of Colaberry and transferred 750 common stock shares in Colaberry to Dasari.

         Mr. Govindarajan and one of the other principals undertook certain actions and decisions

that Katamaraja believed would harm Novedea.

         Accordingly, Katamaraja and Dasari filed a lawsuit against the other owners in the 68th

Judicial District court of Dallas County on January 27, 2012 to enjoin them from continuing those

actions and to protect Dasari’s job and immigration status.

         At the time of the lawsuit, Katamaraja believed that Dasari owned 17.5% of Novedea’s

shares and was a Director.




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         But it turned out that Dasari did not own any shares of Novedea and was not a Director.

         Instead, Novedea’s corporate records from February 27, 2012 showed the Mr.

Govindarajan and Ms. Manjula Dasyam collectively owned 7,500 shares of the 10,000 total shares

that had been issued by Novedea and Katamaraja owned the remaining 2,500 shares.

         As part of the settlement of this lawsuit, Katamaraja purchased the 7,500 Novedea shares

owned by Mr. Govindarajan and Ms. Manjula.

         After that purchase, Katamaraja owned 100% of Novedea’s shares.

         On February 27, 2012, Novedea held an organizational meeting that was attended by

Katamaraja as the sole shareholder and sole Director of the company.

         At that meeting, Katamaraja was appointed to be Novedea’s President and Chief Executive

Officer and Dasari was appointed to be the Novedea’s Secretary.

         Around this same time, Katamaraja transferred 50% of his shares in Novedea to Dasari.

         From 2012 until 2014, Dasari was a Sr. Software Engineer at Novedea who primarily

focused on Novedea’s front-end job of sales and training through analog teaching methods and

lectures in classrooms.

         Katamaraja, as Chief Executive Officer, focused more on Novedea’s business

development, consulting engagements, operations, information technology, immigration, and

finances.

         In early 2012, Novedea brought in Ali Muwwakkil (“Muwwakkil”) to become another

part-time recruiter for the company.

         At this time, Katamaraja believed there were growth opportunities if the business pivoted

to become a direct-to-customer service provider that provides business technology consulting and

employee training services directly to its customers rather than through the customers’ vendors.




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         Muwwakkil also recognized the benefits of building a computer-based tool to help improve

training and expand Novedea’s operations.

         Muwwakkil approached Dasari about the idea, but Dasari told him it was not needed.

         Muwwakkil persisted and continued discussions with Katamaraja and asked Katamaraja to

recommend an approach to take to build the proof of concept for the online tool.

         Subsequently throughout 2012, Muwwakkil and Katamaraja discussed creating an online

tool to deliver training programs.

         Dasari was not involved in this development work.

         Katamaraja recommended using the opensource DotNetNuke (“DNN”) platform for this

development work because Muwwakkil was familiar with these platforms.

         Muwwakkil registered NovedeaTraining.com, and Muwwakkil and Katamaraja worked

together to develop the new tool using DNN over the next several quarters.

         Unfortunately, Novedea started encountering obstacles to growth due to limitations from

the analog teaching methods, business model, and operational constraints.

         Around the second quarter of 2012, Muwwakkil and Katamaraja worked after hours to set

up, configure and design a learning tool by modifying various features of the DNN platform.

         Katamaraja was involved in creative / architecture aspects and Muwwakkil was involved in

set up, configure and design aspects.

         Unlike a traditional learning management system, Novedea’s DNN-based solution was

designed to use gamification principles with 10 gaming levels that simulated a military boot camp

ranking system.

         Muwwakkil is a Marine Corps veteran so he designed the system to reflect 10 military

ranks starting with Private First Class and graduating with General rank when the boot camp is




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successfully completed.

         Muwwakkil and Katamaraja called it CRM - Class Room Management system.

         During the third quarter of 2012, Katamaraja worked on website designs of

Novedeatraining.com and handed over the designs to Muwwakkil.

         Muwwakkil launched the beta version of CRM to test internally and started loading content

that is documented by him, as well as aggregating external content resources such as articles,

videos, assignments, quizzes etc. from the internet.

         During the fourth quarter of 2012, Novedeatraining.com launched and allowed external

users to register for classes through the website.

         Muwwakkil started gathering data around student activity and introduced red / yellow /

green light systems that will show the students in real time of their performance data and make them

accountable.

         Katamaraja also introduced electronic signature capture to collect signatures electronically

through the system.

         During the first quarter of 2013, Katamaraja introduced a concept called “Project Realize

American Dream” with the goal of helping 100,000 people get jobs.

         A problem that emerged at this time was a poor ratio of interviews to hires.

         To try and solve this, Muwwakkil and Katamaraja worked on creating the “Interview Prep”

module and corresponding processes were automated to improve interview outcomes.

         However, because the open source DNN platform was not feature-rich and flexible enough

for business intelligence reporting, Muwwakkil started building a Qlikview dashboard of students

performance data so that he could collect data using the open source DNN system and visualize it

with better color coding and drill down/through reporting.




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         Around this time, Muwwakkil renewed the novedeatraining.com domain for one year.

         During the second quarter of 2013, Katamaraja introduced the Net Promoter Score (NPS)

survey to start collecting customer satisfaction information.

         Katamaraja also started working on introducing Big Data and Data Science programs and

concepts into the system.

         As the “Interview Prep” module started improving results, Muwwakkil and Katamaraja

realized that trainees were still failing at client interviews because they lacked experience working

on real world projects.

         Katamaraja discussed this problem with Dasari and Muwwakkil, and Katamaraja

introduced the concept of working on virtual projects.

         Katamaraja took the lead on creating the project requirements for the first virtual project

using publicly available mortgage data.

         During the third quarter of 2013, the trainees were still not able to work on the virtual

project independently as it was too complex for them.

         Katamaraja then proposed using an ‘IKEA Model’ to assist trainees in the project work.

         Katamaraja created a full solution for the virtual mortgage project along with detailed

instructions on how to go about implementing the project.

         This solution became part of the CRM and was a very effective tool for the trainees to gain

real world work experience as it allowed them to work on complex projects with ease.

         Katamaraja later wrote a book titled “SQL Server 2012 Mortgage Project Book” about this.

         During the fourth quarter of 2013, the CRM reached a milestone of 100 certified students.

         However, the interview to hire ratios were still not improving.

          Katamaraja looked deeper into the problem and realized that working on a virtual project




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is not enough unless the trainees know how to clearly articulate the work that they had completed.

            Katamaraja discussed with Muwwakkil, and they decided to experiment with introducing

video recording assignments as part of the training.

            Katamaraja and Muwwakkil launched a pilot with the open-source plugin because it was

the easiest way to introduce a video recording feature in the open source DNN platform.

            The results of this experiment were positive.

            So Katamaraja worked with Muwwakkil to start looking at introducing full-lifecycle

management into the CRM.

            Unfortunately, student confusion arose when Dasari unilaterally sent out conflicting email

instructions to trainees without understanding how the system was evolving.

            Around this time, Muwwakkil joined Novedea with a retainer fee and commission.

            In 2014, after Dasari received his green card and Katamaraja appointed Dasari to be

Novedea’s Chief Operating Officer.

            During the first quarter of 2014, the preliminary results of video assignments were showing

promise.

            Katamaraja started working on creating a custom video recording platform so that it could

work seamlessly with the technology platform in place.

            Muwwakkil and Katamaraja then worked on replacing the open-source module with the

new custom-built video recording software.

            During this time, Murali Mallina (“Mallina”) joined the team and started exploring the

opportunities to contribute in areas such as share point training, as well as real estate related

projects.

            During the second quarter of 2014, Novedea’s management team realized that its third-




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party placements model was not scalable and that Novedea needed to evolve into a transparent

direct to client business model.

         Dasari was a big believer in the third-party placement model as it is easy business, but

Katamaraja was a big believer in the direct client business model because he felt that was more

sustainability even if it was more difficult to build that business in the beginning.

         Mallina had a strong developer background so Katamaraja encouraged him to study the

possibility of building a new platform that would be more flexible, scalable and potentially help to

achieve the direct client business.

         Because Mallina is a coder, a decision was made to officially engage him to lead building a

new technology platform from scratch in collaboration with Muwwakkil and Katamaraja.

         The Novedea management team, including Dasari, decided to transition software

development and operations towards Colaberry as part of this new direction.

         So it was decided that the new platform would be launched under the Colaberry.com brand

and the Novedeatraining.com opensource DNN platform would be sunset gradually.

         Colaberry.com would operate under Colaberry, Inc. as a separate entity with a clean slate.

         And Novedea would provide contracting resources to help get Colaberry up and running.

         Novedea had the right to access all Colaberry training graduates without paying any talent

acquisition fee to Colaberry and services provided by Novedea would be billed to Colaberry.

         Due to the arrangement with Colaberry, Novedea not only saved on the talent acquisition

cost, but also benefited immensely by focusing all its resources on core staffing business, generating

millions of dollars of revenue by placing trained graduates in contracts jobs, software development

revenue, preferred vendor revenue, and office space rental revenue.

         As Colaberry’s business grew, it provided millions of dollars of business to Novedea as a




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preferred supplier.

         Dasari was aware of all these decisions and transitions in business models, branding, and

software platforms from Novedea to Colaberry.

         For example, in May 2014, Mallina, who at the time was Novedea’s Chief Technology

Officer and Business Information Solutions Architect, sent the email below about the initiation of

rebranding of Novedeatraining.com to Colaberry.com with the opensource DNN platform, which

copied Dasari:




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            On or near the date it was sent, Dasari received the email above, read it, and understood it.

            Afterwards, the website https://app.colaberry.com was launched with deep integration into

the existing open source DNN platform in the backend.

            The website for novedeatraining.com was updated as of May 2014 to include a banner at

the top saying “Novedea Training is now Colaberry School of Data Analytics.”

            Around 2014, Colaberry had a soft launch of the technology platform.

            However, by the end of 2014, feedback from trainees led to the conclusion that the

software platform based on the open-source modules were not suitable for successful and scalable

training.

            During this time, everyone, including Dasari, understood that Colaberry would work only

on direct B2C and B2B client business (training / consulting) and Novedea would continue to work

in the third-party placement business, which had been Novedea’s primary revenue driver.

            On September 9, 2014, Colaberry and Novedea contractually entered into a Master

Agreement (“MSA”) to formalize the above understandings to transition to the Colaberry platform

for direct B2C and B2B client business.

            Under the Master Agreement, Novedea agreed to support Colaberry’s operations and

software development as a contract services provider.

            Colaberry would own all rights to all IP developed by Novedea, if any, under the Master

Agreement and any related Statement of Work, subsequent H1B sponsorships, or Purchase Orders.

            Also, there was an understanding that Novedea would also have the right to place trainees

at no talent acquisition fee to Colaberry.

            Novedea would also provide sub-contracting resources that are required by Colaberry and

its clients’ projects.




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        Dasari executed the Master Agreement on behalf of Novedea.

        Dasari read, understood, and agreed to the terms of the Master Agreement before he signed

it on behalf of Novedea.

        Around this same time toward the end of third quarter 2014, the novedeatraining.com

website started giving problems because the open source DNN software was not able to support the

growing needs of the trainees and the evolving complexity of the business.

        Software development under the Master Agreement focused initially on leveraging the

existing Novedea CRM.

        But eventually the focus shifted to developing a new platform from the ground up within

Colaberry.

        This new platform became the “Colaberry Career Pathways Platform” (“CCPP”).

        All the work on the CCPP was performed by Colaberry employees or Novedea

employees/contractors under the terms of the Master Agreement.

        Dasari never objected to the development of the CCPP or the business decisions

concerning the development of the CCPP.

        Around the fourth quarter of 2014, Mallina integrated into the app.colaberry.com platform

the video server platform that Katamaraja created.

        Mallina also integrated Twilio into the CCPP to make audio calls using VOIP.

        During the fourth quarter of 2014, Colaberry launched the Hadoop Big Data class and

Katamaraja was the main instructor.

        These free self-learning Hadoop classes were launched using the CCPP.

        Vimeo video service was also integrated into app.colaberry.com to upload videos recorded

by trainees and make them available for external recruiters and hiring managers.




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          During the first quarter of 2015, significant software changes and integrations were

completed for the new CCPP.

          First, Mallina completed PayPal payments integration into the new platform.

          The PayPal integration was a huge milestone for the Colaberry as previously there was a

leakage of the training dollars that are collected as cash.

          Additionally, the class leaderboard was launched.

          The sales module was also launched to help with the placements of students, along with

digital course completion certificates.

          Eventbrite integration was also completed to help pull event attendee data.

          Features to permit a white labelled portal were also launched.

          During the second quarter of 2015, paid Hadoop Big Data classes were launched with the

core platform still running on the open source DNN based CRM.

          Because Mallina was able to integrate the video server Katamaraja created into the new

Colaberry platform, a natural path was to also port the “Interview Prep” module as part of the

transition.

          During this time, further changes to the software were completed.

          The placement analytics feature was launched to start having better visibility into

placements.

          However, issues with video recording continued to persist as more users started using the

system.

          A new user profile was launched which aggregated the data from the open source DNN

based database and presented it in a better way.

          Based on Katamaraja recommendation, Mallina implemented the Cuda Sign electronic




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signature pipeline.

         During the third quarter of 2015, SMS notifications feature were launched.

         The Marketing automation module development was also started.

         New student profile creation and enrollment into a course were also launched.

         However, during this time, Mallina started reporting that the school operations team was

not working as expected.

         In 2015, Dasari started looking to buying a new office building based on the

recommendation of Sanjeev Yadav as the current location needed upgrading.

         In 2015, Katamaraja started discussions with Roxbury Community College (RCC) in

Boston to potentially launch a remote program and a white labelled platform

https://rcc.colaberry.com.

         The core CRM was still running in an open source DNN platform at this time and there

was no concrete date when the proprietary Colaberry platform would go live.

         Around this time, Mallina launched the Tableau training program, and Muwwakkil

launched the Qlikview training program as additional Colaberry offerings.

         During the fourth quarter of 2015, more changes to the software were completed.

         Video profiles to share with external recruiters and hiring managers were launched.

         A Data Science with R class also gained traction.

         Passionate discussions arose around the strategy and direction to take the Colaberry

platform to get to next level.

         The marketing module also reached a release stage, and the email server was upgraded to

Mandrill.

         During this time, Mallina pushed for more investment into the CCPP platform to enable




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aggressive growth.

            Katamaraja then hired Xujie (“Oliver”) Weng as a Novedea sub-contractor to work for

Colaberry on its CCPP from the Boston office to accelerate innovation.

            Oliver recommended Cameratag as an alternative solution to be used to resolve persisting

video server problems and Mallina released integration with IBM Watson voice transcription.

            Colaberry training offerings expanded to include MS SQL, HADOOP, TABLEAU and

QLIKVIEW.

            Roxbury Community College (RCC) data analytics class was also launched to experiment

with remote learning delivery.

            Around this time in 2015 was when Dasari launched an initiative to enter the Chicago

market with the objective of placing people at third-party companies through Novedea.

            Dasari also launched Colaberry’s remote training programs in Chicago as a way to start

gaining market attention.

            Additionally, pursuant to the Master Agreement, Novedea deployed multiple developers

from 2015 through at least 2019 to support Colaberry with operations in both training and in

software development, with purchase orders signed by Dasari.

            During the first quarter of 2016, Dasari and Mallina began working on building a large

team of Novedea developers and project managers in the Dallas office to work on the client

projects.

            One of Novedea’s clients was Colaberry and the project Novedea worked on was

Colaberry’s now proprietary CCPP.

            By the end of the first quarter of 2016, the software development team working for

Colaberry on CCPP included at least the following individuals from both Novedea and Colaberry:




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 Project Team             Member Title                          Company
 Murali Mallina           CTO                                   Novedea and Colaberry project
 Ali Muwwakkil            CAO                                   Novedea and Colaberry project
 Alex Gibson              Product Manager                       Colaberry
 Juliet Odima             Project Manager                       Colaberry
 Tarun Aleti Jr.          Data Scientist                        Novedea
 Ranjit Shamanna          Systems Analyst                       Novedea
 Xinyin Wang              Systems Analyst                       Novedea
 Oliver Weng              Java Script Developer                 Novedea and Colaberry projects on-
                                                                site in Boston
 Manasa Paidimarry        Business Intelligence Developer       Novedea
 Jili Huang               User Experience Designer              Colaberry

         During this timeframe, Muwwakkil again renewed the novedeatraining.com domain for

one year.

         Oliver also provided coding documentation to integrate new online video recording

features and deployed the video recording code on www.filter-ed.co and started testing it.

         Oliver started working on lead tracking and conversion features for CCPP and collaborated

with Mallina.

         Oliver also got involved in the RCC program technical support with QR code features

being developed.

         And the job postings feature was also launched CCPP at this time.

         Katamaraja observed that the market was starting to adopt Data Science and there would

be a need for Colaberry to position itself as a leader in the data science arena.

         To achieve that goal, Katamaraja started working on putting together a self-service learn-

by-doing data science platform using the open source JupyterHub platform.

         Katamaraja hired MicroPyramid from India because they are Python experts and started

building the platform.

         Oliver started providing technical oversight to the offshore team.

         In first quarter 2016, Katamaraja started talking to YearUp.org, a non-profit organization



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that is dedicated to working with at-risk inner-city youth to bring talented young adults and top

companies together to launch careers, power business, and build community.

         The goal was to provide a custom Colaberry platform to YearUp so that we could

empower inner city youth to get re-skilled and transition into good paying jobs and careers.

         YearUp responded very positively and agreed to launch a pilot in their San Diego and San

Francisco locations in the fall of 2016.

         That started a flurry of activity over the next two quarters to customize the Colaberry

platform and content to meet the needs of YearUp students and clients.

         Colaberry had to innovate, design, develop and customize the Colaberry platform and

launch a custom portal https://yearup.colabery.com and had to develop custom content for YearUp

based on the specifications given by their client Facebook.

         Colaberry also created on-demand AWS cloud instances to provide access to affordable

computers so that the inner-city youth have access to high quality computing tools 24x7 from

anywhere.

         That was a game changing innovation which allowed hundreds of inner-city youth

transition into good paying technology careers in Silicon Valley technology companies.

         In 2016, Novedea’s financial situation was very precarious.

         Novedea’s Dallas office staff started to report to Katamaraja that they were not being paid

on time by Dasari.

         Dasari then went on sabbatical from Novedea and Colaberry in 2016.

         Dasari’s sabbatical from Novedea and Colaberry lasted until the later part of 2018.

         So Katamaraja worked hard to salvage Novedea and started streamlining the entire

business from scratch.




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           First and foremost, Katamaraja made sure all people who were working with Colaberry

and Novedea were paid according to commitments and on time.

           Due to the difficulty in getting paid by Dasari through Novedea, Mallina and Muwwakkil

ceased providing services to Colaberry as subcontractors from Novedea.

           Instead, from September 2016, Mallina started providing contracting software development

services through his company “Mobile First Solutions” directly to Colaberry and continued to work

to develop the proprietary Colaberry Career Pathway Platform until March 2018.

           Similarly, Muwwakkil started providing his services from October 2016 until May 2018

directly to Colaberry as a contractor.

           In June 2018 Muwwakkil converted to a full-time employee of Colaberry.

           During the fourth quarter of 2016, YearUp signed a SOW with Colaberry and had a custom

CCPP portal (https://yearup.colaberry.com), which was launched with bespoke content.

           YearUp was invoiced by Colaberry for the services and payment was received in the same

quarter.

           Colaberry’s cutting edge innovative work with YearUp allowed hundreds of at-risk inner-

city youth to transition into good paying technology careers at Fortune 1000 companies such as

Facebook, Google, Uber, Cisco, Linkedin, Yahoo, Ebay, Paypal, Tesla, AutoDesk, Symantec, Bank

of the West, GE Digital, Kaiser Permanente, Walmart, Chevron, Quantcast, Workday, Silicon

Valley bank, Visa, Chan Zuckerberg Foundation etc.

           In August 2017, YearUp sent Colaberry a thank you letter about the impact that Colaberry

had on the YearUp students.

           YearUp continues to use https://yearup.colaberry.com platform to this day and continues to

pay a usage fee to CCPP.




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         Also in the fourth quarter 2016, the Colaberry team and Katamaraja met with the Bartech

team to discuss a proposed pilot program to conduct assessments across their customer’s enterprise.

         This was a dream opportunity for any entrepreneur to work closely with a multi-billion-

dollar enterprise client, build trust by going above and beyond to exceed the expectations of a client,

and customize Colaberry platforms to meet enterprise standards and potentially generate millions of

dollars of revenue in future business opportunities.

         To start accommodating the pilot of the assessment tool, Filtered.ai was registered and

custom workflows were developed.

         TalentIQ API integration for 360-degree profile development was also started.

         Sphere Engine integration was explored to enable dynamic code compilation, code

assessment and code quality measurement.

         Mallina also advised to start using Sphere Engine to make the assessments inside the career

pathways platform.

         Colaberry school of data analytics was set up in Filtered as an organization so that trainees

can start taking assessments and build their profiles.

         Mallina started looking into developing analytics for Filtered.

         This was slow progress on the Refactored platform as the underlying open source

JupyterHub platform was still not fully stable and that created challenges for coders to develop

flexible features.

         During the first quarter of 2017, Katamaraja started working with Muwwakkil to move

towards building a deferred payment model based on successful job placement for students.

         The Colaberry team started working on building a group of alumni mentors to assist with

helping trainees get jobs.




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         SCALA training was launched by Mallina to upskill java developers into SCALA

developers.

         During the second quarter of 2017, self-service enrollment by students and recruiters was

also launched.

         Also in the second quarter, “https://training.colaberry.com” was launched to make it

explicit for users to navigate to training offerings of Colaberry.

         During the fourth quarter of 2017, Colaberry began an initiative to launch an instructor led

remote learning class for Data Science.

         Data Science and Machine Learning courses started getting built into Colaberry career

pathways platform using the content that was created on Refactored.ai platform.

         An initiative to pilot launch data analytics and data science programs in India in

collaboration with Infogrex.com also started at this time.

         During the first quarter of 2018, Katamaraja focused the Colaberry team on building Trust

for the Colaberry brand inside and outside the company.

         All company decisions and actions would be oriented towards establishing trust.

         We transitioned from the video server to CameraTag software.

         The measured theory blog was published based on content in Refactored.ai.

         And Marketing of Data Science training programs were started.

         Colaberry also implemented and adopted the Basecamp project management tool to start

tracking the projects and tasks across multiple teams seamlessly.

         During the second quarter of 2018, Mallina quit working at Colaberry because he decided

to move on to pursue different things in his life.

         During the second half of 2018, Katamaraja entered the Colaberry solution into a Work of




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the Future solutions global competition at MIT SOLVE where participants from 110 countries

submitted more than 1100 solutions, and the Colaberry solution won the global championship and

got recognized as the “Most Promising Work of the Future Solution” (See:

https://youtu.be/WBCW0CeCFag), validating years of work by the Colaberry team developing

solutions that provides career pathways to people on the other side of the track.

         Colaberry also won the General Motors Prize for Advanced Technologies, Patrick J.

McGovern Foundation Artificial Intelligence for Betterment of Humanity Prize and Community

Award for Most Favorable Solution.

         During the first quarter of 2019, Katamaraja focused the team on scaling Trust in

Colaberry both internally and externally.

         All company decisions and actions would be oriented towards scaling Trust.

         Katamaraja was invited to present at the United Nations Institute of Training and Research

(UNITAR) (See: https://youtu.be/x9imLuYIJBI about our work).

         Katamaraja hired a UX team to start giving a new look and feel to the entire Colaberry

product line.

         Katamaraja also kicked off a single sign on initiative to make sure there was one login for

all Colaberry systems.

         Additionally, during this time in 2019, Filtered looked to close about a $2.3 million seed

round.

         However, Dasari insisted that Paul Bilodeau (a key person at Colaberry who was involved

in Filtered too) should renounce any claims to equity in Colaberry.

         Otherwise, Dasari would not agree to sign off on the Filtered deal.

         Dasari’s demand was conveyed by Raj Akula to Paul, who agreed to renounce any equity




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in Colaberry to obtain Dasari’s consent to close the Filtered seed round.

         Dasari subsequently signed off on the deal.

         In early 2020, Dasari caused Novedea to file a copyright registration for what it called

“Learning Management System and Job Readiness Program.”

         Dasari did not have the authority to file this Copyright registration application.

         The “Learning Management System and Job Readiness Program” was assigned

Registration Number TX0008840572.

         The source code that was submitted in support of the “Learning Management System and

Job Readiness Program” copyright was actually source code that belongs to Colaberry and is part of

the code base of CCPP.

         Specifically, the code that was submitted by Dasari as part of the Novedea copyright

deposit represents approximately 1.2% of the total files in the CCPP codebase and represents 1.32%

of the size of the code in the codebase of the CCPP.

         12 out or 14 stored procedures names included in this “deposit” start with “CB_”, which is

the naming convention used to represent Colaberry.

         And the namespace used in the C# code files from the Novedea copyright deposit is

‘namespace CBOnline’, which clearly represents ‘Colaberry’ Online system.

         All of the source code of the CCPP is a trade secret belonging to Colaberry.

         After Dasari returned from his sabbatical, his relationship with Katamaraja began to

deteriorate.

         In 2019, in order to resolve the disputes and allow Dasari and Katamaraja to move on,

Dasari indicated that he would like to sell his shares to Katamaraja.

         During the discussions throughout 2019, Dasari became increasingly hostile and started




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threatening, harassing, intimidating Katamaraja, his family in the USA and India, and employees of

Colaberry and Novedea to the point that Katamaraja felt threatened enough to document this

behavior and report it to the FBI.

         Dasari even made death threats against Katamaraja and his family.

         Dasari also manipulated and submitted fraudulent Novedea Financials to banks, showing

hundreds of thousands of dollars more revenues than what it was generating in 2019.

         Dasari submitted them to Legacy Texas Bank to access funds from the Line of Credit.

         Dasari also instructed the Novedea accounts manager to stop payroll for Katamaraja.

         Based on Dasari’s behavior and negative impact on Colaberry, Katamaraja terminated

Dasari’s role as Secretary and COO of Colaberry on April 16, 2020.




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        Based on Dasari’s behavior and negative impact on Novedea, Katamaraja terminated

Dasari’s role as Secretary and COO of Novedea on April 16, 2020.




        As a result, Dasari has no authority to act on behalf of either Colaberry or Novedea.

        Dasari had no legal authority to hire attorney’s on behalf of Novedea.

        Dasari had no legal authority to direct attorneys to file this lawsuit on behalf of Novedea.

        Dasari had no authority to hire Ryan Botkin or John Saba, Jr. to represent Novedea.

        Dasari had no authority to hire Gene Hamm II or John P. Martin to represent Novedea.

        Dasari had not authority to hire The Hamm Firm to represent Novedea.

        The Hamm Firm filed this lawsuit on behalf of Novedea without properly investigating

whether Dasari had the authority to hire them.

        Dasari lacks both the actual and apparent authority to sign attorney retainer agreements on



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behalf of Novedea.

         Novedea has not authorized the filing of any claims against Colaberry or Katamaraja.

                                           COUNTERCLAIMS

                            Counterclaim I – Breach of Fiduciary Duty

         Counterclaim-Plaintiff incorporates the foregoing paragraphs as if fully set forth herein.

         The Delaware Supreme Court has held that officers of Delaware corporations, like

directors, owe fiduciary duties of care and loyalty. Gantler v. Stephens, 965 A.2d 695, 708-09 (Del.

2009)

         The Duty of Care requires informed, deliberative decision-making based on all material

information reasonably available.

         Duty of Loyalty requires acting (including deciding not to act) on a disinterested and

independent basis, in good faith, with an honest belief that the action is in the best interests of the

company and its stockholders.

         On January 22, 2012, Kotamaraja appointed Dasari as the Secretary of Colaberry.

         On April 16, 2020, Colaberry’s Board of Directors removed Dasari’s as the Secretary and

Chief Operating Officer of Colaberry.

         Both the Secretary and Chief Operating Officer of a Delaware corporation are corporate

officers that owe the corporation fiduciary duties of care and loyalty.

         Accordingly, Dasari was a fiduciary of Colaberry from January 22, 2012 until April 16,

2020, which Dasari admitted in paragraph 56 of the First Amended Answer (Dkt. 18): “A fiduciary

relationship exists between the parties…”

          Dasari breached his fiduciary duties to Colaberry by undertaking the following actions

while serving as a corporate officer for Colaberry:

                (a) Taking Colaberry’s source code and claiming it belongs to Novedea.



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                (b) Publicly filing Colaberry’s trade secret source code at the U.S. Copyright Office.

                (c) Obtaining a copyright for Colaberry’s source code on behalf of Novedea.

                (d) Using that fraudulently obtained copyright to sue Colaberry and Katamaraja for

                    copyright infringement in this case.

                (e) Refusing to renew Colaberry’s lease of Novedea’s office space at the end of

                    2019.

         These actions constitute breaches of Dasari’s fiduciary duties because they were

undertaken to create additional negotiation leverage for Dasari in negotiations with Katamaraja to

buyout Dasari’s Colaberry shares and as retaliation against Katamaraja.

         Colaberry has been damaged by Dasari’s breach of fiduciary duty in at least two ways: (i)

Colaberry’s trade secret source code has been made public reducing its value, (ii) Colaberry has

been forced to defend itself against copyright infringement claims in this case, and (iii) Colaberry

was forced to move its Texas operations to a new location.

         Katamaraja has been damaged by Dasari’s breach of fiduciary duty because he has been

forced to defend himself in this case as a result of Dasari’s breaches of his fiduciary duty.

         Counterclaim-Plaintiffs are therefore entitled to an award of damages adequate to

compensate for Dasari’s breach of his fiduciary duties and any other such relief as the Court may

deem appropriate.

                    Counterclaim II – Trade Secret Misappropriation (DTSA)

         Counter-Claim Plaintiff incorporates the foregoing paragraphs as if fully set forth herein.

         Counter-Claim Plaintiff’s bring this claim for Trade Secret Misappropriation under the

Defend Trade Secrets Act 18 U.S.C. § 1836(b)(1).

         Dasari owed fiduciary duties to Colaberry as explained above.

         In his role as an officer of Colaberry, Dasari had access to the proprietary source code for



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Colaberry’s Career Pathways Platform (“CCPP”).

        Colaberry has spent years and over $5 million dollars developing its proprietary CCPP

source code.

        Colaberry’s CCPP is proprietary software that it uses to drive its business. a

        CCPP is valuable to Colaberry because it is proprietary.

        It would take multiple years and millions of dollars for Colaberry’s competitors to create a

platform like CCPP.

        The CCPP platform is Colaberry’s primary competitive advantage in the marketplace.

        Colaberry takes reasonable precautions to keep its CCPP source code secret, which include

but are not limited to limiting access to the CCPP source code, password protections, and access to

the base code.

        Sometime in 2019 or early 2020, using his access as an officer of Colaberry, Dasari

downloaded at least the proprietary CCPP source code that was produced by Dasari in this lawsuit

as bates numbers DASARI000106-164.

        Dasari then used this Colaberry CCPP source code as the mandatory deposit for an

application for copyright registration that Dasari had submitted to the U.S. Copyright Office on

behalf of Novedea Systems, Inc. that was assigned Registration Number TX 8-840-572.

        In other words, Dasari took Colaberry’s CCPP source code and used it to obtain a

registered copyright for Novedea.

        Dasari knew, or had reason to know, because of his role as an officer of Colaberry that he

had a duty to maintain the secrecy of Colaberry’s CCPP source code.

        This harms Colaberry because it is in effect an unauthorized transfer of Colaberry’s

proprietary CCPP product to Novedea and it makes a portion of Colaberry’s CCPP’s source code




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publicly available.

         Dasari undertook these actions secretly without permission from anyone else at Colaberry

or Novedea.

         Dasari did not have the authority to unilaterally transfer proprietary source code from

Colaberry to Novedea.

         Dasari did not have the authority to deposit that misappropriated source code at the U.S.

Copyright Office, thereby making it publicly available.

         Dasari did not have the authority to apply for any copyrights on behalf of either Novedea

or Colaberry.

         Dasari undertook these actions solely for his own benefit to obtain additional leverage in

negotiations with Katamaraja to buy out Dasari’s shares of Novedea and Colaberry, which were

taking place in late 2019 and early 2020.

         Dasari took these actions willfully, and/or in reckless disregard for Colaberry’s rights, in

that Dasari knew that he was not authorized to publicly disclose Colabarry’s CCPP source code to

obtain a registered copyright for Novedea.

         As a direct result of Dasari’s misappropriation of Colaberry’s trade secrets, Colaberry has

suffered and will suffer actual losses in an amount to be determined at trial.

         Under 18 U.S.C. § 1836(b)(3)(C), Colaberry is entitled to exemplary damages for

Defendants’ willful and malicious misappropriation of Colaberry’s trade secrets.

         Under 18 U.S.C. § 1836(b)(3)(D), Colaberry is entitled to recovery of its attorney’s fees

because of Dasari’s willful and malicious misappropriate of Colaberry’s trade secrets.

                      Counterclaim III – Trade Secret Misappropriation (TTSA)

         Counter-Claim Plaintiff incorporates the foregoing paragraphs as if fully set forth herein.

         Counter-Claim Plaintiff’s bring this claim for Trade Secret Misappropriation under the



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Texas Uniform Trade Secrets Act, Tex. Civ. Prac. & Rem. Code § 134A.001 et seq.

         Dasari owed fiduciary duties to Colaberry as explained above.

         In his role as an officer of Colaberry, Dasari had access to the proprietary source code for

Colaberry’s Career Pathways Platform (“CCPP”).

         Colaberry has spent years and over $5 million dollars developing its proprietary CCPP

source code.

         Colaberry’s CCPP is proprietary software that it uses to drive its business. a

         CCPP is valuable to Colaberry because it is proprietary.

         It would take multiple years and millions of dollars for Colaberry’s competitors to create a

platform like CCPP.

         The CCPP platform is Colaberry’s primary competitive advantage in the marketplace.

         Colaberry takes reasonable precautions to keep its CCPP source code secret, which include

but are not limited to limiting access to the CCPP source code, password protections, and access to

the base code.

         Sometime in 2019 or early 2020, using his access as an officer of Colaberry, Dasari

downloaded at least the proprietary CCPP source code that was produced by Dasari in this lawsuit

as bates numbers DASARI000106-164.

         Dasari then used this Colaberry CCPP source code as the mandatory deposit for an

application for copyright registration that Dasari had submitted to the U.S. Copyright Office on

behalf of Novedea Systems, Inc. that was assigned Registration Number TX 8-840-572.

         In other words, Dasari took Colaberry’s CCPP source code and used it to obtain a

registered copyright for Novedea.

         Dasari knew, or had reason to know, because of his role as an officer of Colaberry that he




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had a duty to maintain the secrecy of Colaberry’s CCPP source code.

         This harms Colaberry because it is in effect an unauthorized transfer of Colaberry’s

proprietary CCPP product to Novedea and it makes a portion of Colaberry’s CCPP’s source code

publicly available.

         Dasari undertook these actions secretly without permission from anyone else at Colaberry

or Novedea.

         Dasari did not have the authority to unilaterally transfer proprietary source code from

Colaberry to Novedea.

         Dasari did not have the authority to deposit that misappropriated source code at the U.S.

Copyright Office, thereby making it publicly available.

         Dasari did not have the authority to apply for any copyrights on behalf of either Novedea

or Colaberry.

         Dasari undertook these actions solely for his own benefit to obtain additional leverage in

negotiations with Katamaraja to buy out Dasari’s shares of Novedea and Colaberry, which were

taking place in late 2019 and early 2020.

         Dasari took these actions willfully, and/or in reckless disregard for Colaberry’s rights, in

that Dasari knew that he was not authorized to publicly disclose Colabarry’s CCPP source code to

obtain a registered copyright for Novedea.

         As a direct result of Dasari’s misappropriation of Colaberry’s trade secrets, Colaberry has

suffered and will suffer actual losses in an amount to be determined at trial.

         Under Tex. Civ. Prac. & Rem. Code § 134A.004(b), Colaberry is entitled to exemplary

damages for Defendants’ willful and malicious misappropriation of Colaberry’s trade secrets.

         Under Tex. Civ. Prac. & Rem. Code § 134A.005, Colaberry is entitled to recovery of its




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attorney’s fees because of Dasari’s willful and malicious misappropriate of Colaberry’s trade

secrets.

       Counterclaim IV - Declaratory Judgment of Ownership of Registered Copyright

           Counter-Claim Plaintiff incorporates incorporate the foregoing paragraphs as if fully set

forth herein.

           Pursuant to 28 U.S.C. § 2201 et seq., Colaberry seeks a declaratory judgment that it owns

U.S. Copyright Registration Number TX 8-840-572 due to Dasari and Novedea’s improper

possession of Colaberry’s trade secret CCPP source code as described above.

                                                 RELIEF

WHEREFORE, Colaberry seeks the following relief:

                 (a) Judgment be entered in favor of Colaberry and against Plaintiffs for all claims in

                     Plaintiffs’ Second Amended Complaint;

                 (b) Judgment in favor of Colaberry on all Counterclaims;

                 (c) Declare that Colaberry owns U.S. Copyright Registration Number TX 8-840-

                     572;

                 (d) An award of damages in an amount to be proven as to each Counterclaim;

                 (e) Exemplary damages for Counterclaims II and III;

                 (f) Costs, expenses, and attorneys’ fees associated with this case;

                 (g) Pre- and Post-judgment interest;

                 (h) Any other relief that Court deems just and proper.




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Dated: February 26, 2021                               Respectfully submitted,

                                                       s/ Rajkumar Vinnakota
                                                       Rajkumar Vinnakota, Attorney-in-Charge
                                                       Texas Bar No. 24042337
                                                       Sean N. Hsu
                                                       Texas Bar No. 24056952
                                                       JANIK VINNAKOTA LLP
                                                       8111 LBJ Freeway, Suite 790
                                                       Dallas, TX 75251
                                                       Tel.: (214) 390-9999
                                                       Fax: (214) 586-0680
                                                       kvinnakota@jvllp.com
                                                       shsu@jvllp.com

                                                       COUNSEL FOR DEFENDANT
                                                       COLABERRY, INC.


                                  CERTIFICATE OF SERVICE

   I certify that a copy of this pleading was electronically filed with the Clerk of the Court on

February 26, 2021 by using the CM/ECF system which will send a notice of electronic filing to

Filing Users and that each attorney representing the Plaintiff is a filing user.


                                                       s/ Rajkumar Vinnakota
                                                       Rajkumar Vinnakota




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